AB:ADW

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA COMPLAINT
~ against - (T. 21, U.S.C., § 841; T. 18,
BINBU FENG, HUIMING FENG and USC $2)
WEIBIN LIANG, Case No. 19-1005 M
Defendants.
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EASTERN DISTRICT OF NEW YORK, SS:

THOMAS CALLAHAN, being duly sworn, deposes and states that he is a
Special Agent with the Drug Enforcement Administration (“DEA”), duly appointed to law and
acting as such.

On or about October 28, 2019, within the Eastern District of New York, the
defendants BINBU FENG, HUIMING FENG and WEIJBIN LIANG, did knowingly and
intentionally manufacture, distribute, or dispense, or possess with intent to manufacture,

distribute, or dispense, a controlled substance, to wit, marijuana, in violation of 21 U.S.C. §

841(a)(1).

(Title 21, United States Code, Section 841; Title 18, United States Code, Section
2)

The source of your deponent’s information and the grounds for his belief are as
follows:!

Because the purpose of this Complaint is to set forth only those facts necessary
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l. I am a Special Agent with the DEA and have been for approximately one
year. In my capacity as a Special Agent, I have participated in investigations of narcotics and
money laundering activities, including surveillance and the execution of search warrants and
the monitoring of electronic tracking devices. J am familiar with the methods used to package
and process controlled substances, including marijuana. I am familiar with the facts and
circumstances of this investigation from my personal participation in this investigation, and
from information obtained from other law enforcement agents and others. I have been
involved in numerous investigations involving marijuana distribution, packaging, sales, and
other criminal activities associated with marijuana.

2. On or about October 28, 2019, members of law enforcement, including
myself, were surveilling the activities of an individual suspected of engaging in narcotics
trafficking (“Individual-1”). Law enforcement observed Individual-1 leave his home and drive
to a self-storage facility in Queens, New York (the “FIRST STORAGE FACILITY”). While
there, law enforcement observed Individual-1 meet with another person (“Individual-2”).

3. Individual-1 and Individual-2 appeared to canvas the area by driving and
walking around the perimeter of the area and peering into parked vehicles to see if anyone was
inside.

4, Individual-1 and Individual-2 then drove to and parked their respective
cars on a nearby street. There, defendants HUIMING FENG and WEIBIN LIANG arrived in

a pickup truck and spoke with Individual-1 and Individual-2 for some time.

to establish probable cause to arrest, I have not described all the relevant facts and
circumstances of which I am aware.
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5. Together, Individual-1, Individual-2, and defendants HUIMING FENG
and WEIBIN LIANG then went to the loading dock of another nearby self-storage facility also
in Queens, New York (the “SECOND STORAGE FACILITY”), where they met defendant
BINBU FENG. They were observed retrieving several large black plastic bags from the
SECOND STORAGE FACILITY. Several of them loaded the bags into the back of a mini-
van.

6. Defendant BINBU FENG drove the mini-van away from the SECOND
STORAGE FACILITY. Law enforcement conducted a traffic stop of the mini-van, and
BINBU FENG consented to a search of both the mini-van and any closed containers within it.
Law enforcement then searched the mini-van, found several large black plastic bags, and
opened the bags, revealing large quantities of marijuana. Law enforcement then arrested
BINBU FENG.

7. Other members of law enforcement continued to surveil the SECOND
STORAGE FACILITY while defendant BINBU FENG was being arrested. Law enforcement
observed defendant WEIBIN LIANG and at least one other person loading large boxes into the
back of the pickup truck. Defendants HUIMING FENG (the driver) and WEIBIN LIANG (a
passenger) rode away from the SECOND STORAGE FACILITY in the truck. Law
enforcement conducted a traffic stop of the truck, and HUIMING FENG consented to a search
of both the truck and any closed containers within it. Law enforcement found and opened the
boxes, which contained large quantities of marijuana. They then arrested HUIMING FENG
and LIANG.

8. In total, approximately 300-400 pounds of marijuana was seized from
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these defendants.

WHEREFORE, your deponent respectfully requests that the defendants BINBU

FENG, HUIMING FENG and WEIBIN LIANG be dealt with according to law.

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THOMAS @ALLAHAN
Special Agent
Drug Enforcement Administration

Sworn to before me this
29th day of Octgher, 2019

THE HONORABLE VERA M. SCANLON
UNITED STATES MAGISTRATE JUDGE
EASTERN DISTRICT OF NEW YORK
